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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS (DALLAS)

 CRAIG CUNNINGHAM,                              )        Case No. 3:16-cv-02880
                                                )
                 Plaintiff,                     )        Judge Barbara M. G. Lynn
                                                )
         vs.                                    )
                                                )
 STUDENT LOAN ASSISTANCE                        )
 CENTER, LLC, et al.,                           )
                                                )
                 Defendants.                    )


NOTICE OF SETTLEMENT FILED BY DEFENDANTS EC LENDING LLC, STUDENT
 ASSISTANCE CENTER INC., JOSHUA MYERS, RYAN MCAWEENEY, AND NEIL
                             BILLOCK


       On behalf of Defendants EC Lending LLC, Student Assistance Center, Inc., Joshua Myers,

Ryan McAweeney, and Neil Billock, the undersigned counsel represents to this Court that this

matter has settled with respect to these Defendants only.

       The undersigned counsel is working on a formal settlement agreement draft to provide to

Plaintiff’s counsel.

                                                    Respectfully submitted,

                                                    /s/ Matthew T. Anderson
                                                    ________________________________
                                                    Matthew T. Anderson (OH 0082730)
                                                    Attorney for Defendants EC Lending LLC,
                                                    Student Assistance Center, Inc., Joshua Myers,
                                                    Ryan McAweeney, and Neil Billock
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 17, 2017, this document was electronically filed via the Court’s

authorized electronic filing system, and this document was served via e-mail and regular U.S. mail

upon the following:

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                                                     Attorney for Plaintiff



                                                   /s/ Matthew T. Anderson
                                                  _____________________________________
                                                  Matthew T. Anderson




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